                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE COMMISSION,                            Case No. 1:17-cv-7994-AT-DCF

                          Plaintiff,

v.

 RIO TINTO PLC, RIO TINTO LIMITED,
 THOMAS ALBANESE, and GUY ROBERT
 ELLIOTT,

                          Defendants.


NOTICE OF DEFENDANTS’ MOTION FOR ISSUANCE OF LETTERS OF REQUEST
   FOR INTERNATIONAL JUDICIAL ASSISTANCE TO OBTAIN EVIDENCE

       Please take notice that Defendants Rio Tinto plc, Rio Tinto Limited, Thomas Albanese,

and Guy Elliott move this Court for the issuance of letters of request for international judicial

assistance to obtain evidence. The SEC does not oppose this request.

       The motion seeks to compel the following entities to produce documents and/or provide

testimony in connection with the above-captioned case: PricewaterhouseCoopers UK,

PricewaterhouseCoopers Australia, and PricewaterhouseCoopers South Africa. The letters to

authorities in all three countries would be issued pursuant to 28 U.S.C. § 1781, and in accord

with the Hague Convention of March 18, 1970, on the Taking of Evidence Abroad in Civil or

Commercial Matters, 23 U.S.T. 2555, T.I.A.S. No. 7444; the letter to authorities in South Africa

also invokes the South African Foreign Courts Evidence Act.

       In support of the motion, Defendants have submitted a memorandum of law, a supporting

declaration, and proposed letters of request.
Dated:   July 31, 2018                           Respectfully submitted,

                                                 JONES DAY

                                                 /s/ Kristen A. Lejnieks
David Woodcock (pro hac vice)                    Kristen A. Lejnieks
2727 North Harwood Street                        Peter J. Romatowski
Dallas, TX 75201                                 51 Louisiana Avenue, NW
(214) 969-3681                                   Washington, DC 20001
                                                 (202) 879-3939
                                                 kalejnieks@jonesday.com

                         Attorneys for Defendant Thomas Albanese


                                                 MORVILLO, ABRAMOWITZ, GRAND,
                                                 IASON & ANELLO, P.C.

                                                 /s/ Jonathan S. Sack
                                                 Jonathan S. Sack
                                                 Jeremy H. Temkin
                                                 565 Fifth Avenue
                                                 New York, NY 10017
                                                 (212) 880-9410
                                                 jsack@maglaw.com

                Attorneys for Defendants Rio Tinto PLC and Rio Tinto Limited


                                                 PAUL, WEISS, RIFKIND, WHARTON &
                                                 GARRISON LLP

                                                 /s/ Walter G. Ricciardi
                                                 Theodore V. Wells
                                                 Walter G. Ricciardi
                                                 Geoffrey R. Chepiga
                                                 Livia Fine
                                                 1285 Avenue of the Americas
                                                 New York, NY 10019
                                                 (212) 373-3000
                                                 wricciardi@paulweiss.com

                         Attorneys for Defendant Guy Robert Elliott




                                             2
                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing to be served by

CM/ECF this 31st day of July, 2018 upon all counsel:




                                                  /s/ Kristen A. Lejnieks
                                                  Kristen A. Lejnieks
                                                  51 Louisiana Avenue, NW
                                                  Washington, DC 20001
                                                  (202) 879-3939
                                                  kalejnieks@jonesday.com

                                                  Attorney for Defendant Thomas Albanese
